             Case 2:09-cr-00120-RSM             Document 8     Filed 10/28/10    Page 1 of 2




 1

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                 Plaintiff,          )     Case No. CR09-120-RSM
                                                       )
10                          v.                         )     DETENTION ORDER
                                                       )
11 HECTOR GONAZALES,                                   )
                                                       )
12                                 Defendant.          )

13 Offense charged:

14       Conspiracy to Distribute Cocaine and Distribution of Cocaine.

15 Date of Detention Hearing: October 26, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       The Court received no information about defendant’s ties to the community, residence,

23 employment or health. Defendant through his lawyer did not contest detention.



     DETENTION ORDER - 1
               Case 2:09-cr-00120-RSM         Document 8        Filed 10/28/10      Page 2 of 2




 1       It is therefore ORDERED:

 2       (1)        Defendant shall be detained pending trial and committed to the custody of the

 3 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4 from persons awaiting or serving sentences, or being held in custody pending appeal;

 5       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

 6 counsel;

 7       (3)        On order of a court of the United States or on request of an attorney for the

 8 Government, the person in charge of the correctional facility in which Defendant is confined

 9 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

10 connection with a court proceeding; and

11       (4)        The clerk shall direct copies of this order to counsel for the United States, to

12 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

13 Officer.

14       DATED this 26th day of October, 2010.

15

16

17

18
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
19

20

21

22

23



     DETENTION ORDER - 2
